006 HOM B88; BAK ARTTAS4U60, GOMONEAL SCLATIS on ELSD Docket 10/07/2009 Page 1 MQ)3/008

: Kurtell Medical Center LLC DATE OF REPORT _ : 6/23/2006

: 777 37th Street DATE OF LOSS : 9/4/2004

: Vero Beach, FL 32960 POLICY NUMBER 1 09-2510177411

COMPANY _ : Fidelity National Insurance Company CLAIM NUMBER : FNIC-1-XX-XXXXXXX
s OUR FILE NUMBER : 41213-R1

ADJUSTER NAME — : Josh Bodden

BUILDING ESTIMATE
7" SBUILDING INFORMATION: oe

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a

Estimate Grand Totals: $64,865.04
Total Depreciation: $0.00
A.C.V. Estimate Totals: $64,865.04
Policy Deductible: $500.00
Final Totals: $64,365.04

Tp _LESTIMATE COMMENTS.

(e

[ _***This is an estimate of recorded damages and Is subject to review and final approval by the insurance carrier.*** _ |
Cover Page

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Form EST-1/2.6-SP3 @

Exhibit “B”
2008 MON 15353. PAX AB77BRLAGD, COLONDALSCLATUS on FLSD Docket 10/07/2009 Page 2 dé]804/009

INSURED : Kurtell Medical Center LLC DATE OF REPORT _ : 6/23/2006
LOCATION :777 37th Street DATE OF LOSS : 9/4/2004
: Vero Beach, FL 32960 POLICY NUMBER : 09-2510177411
COMPANY _ : Fidelity National Insurance Company CLAIM NUMBER : FNIC-1-XX-XXXXXXX
- OUR FILE NUMBER: 41213-R1
ADJUSTER NAME — : Josh Bodden
Estimati Section! Blevators’ 800
EleVators ........scscsscssesscssesssesssscessceccsenseassecassasee 16° x 18' 5.0" x 22"
Lower Perimeter: 68.80 LF Floor SF: 294.70 SF Wall SF: 1514.30 SF
Upper Perimeter: 68.80 LF Floor SY: 32.74 SY Ceiling SF: 294.70 SF
# Quantity Description Unit Cost RCV DEP ACV
1 1.0 EA| Elevators $0.00 $0.00 $0.00
have not recieved repair invoices,
receipts, possible supplement
Me MNEs _-2 {Totals For-Elevators | oT ~~ $0.00/ oe $0200

Estimate:Section:-.; Area below first‘elevated floor.

Area below first elevated floor ..c..c.cssscseccsseees 201' x 432" x 10'
Lower Perimeter. 1266.00 LF Floor SF: 86832,00 SF Wall SF: 12660.00 SF
Upper Perimeter: 1266.00 LF Floor SY: 9648.00 SY Ceiling SF: 86832.00 SF
# Quantity Description Unit Cost RCV DEP ACV
2 | 86832.0 S/Flood Loss Clean-up (100.0%) $0.40] $34,732.80 $34,732.80
3 | 5064.0 SF|Mildewcide Wall Treatment (100.0% / 4.0’) $0.30 $1,519.20 $1,519.20
4 | 86832.0 S/Mildewcide Floor Treatment (100.0%) $0.30} $26,049.60 $26,049.60
5 1.0 EA/Electrical Service Call $1,500.00 $1,500.00 $1,500.00
For electrical items below water line
6 | 5064.0 SF|Pressure Wash Foundation Walls (100.0% /
4.0") $0.21 $1,063.44 $1,063.44
to water line
Dieteidtacg oe) Otals For Area ‘below first ‘elevated floor |": "|" $64:865.04 sa 9 GOL00 HS $645865:04

| “This is an estimate of recorded damages and is subject to review and final approval by the Insurance carrier,“"" |

SIMSOL®

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Page: 1
cH 2008 MON 15 vid BAN 1277884 460 COLON AEE OLAKENS on FLSD Docket 10/07/2009 Page 3 olfX05/009

INSURED __ : Kurtell Medical Center LLC DATE OF REPORT _ : 6/23/2006
LOCATION =: 777 37th Street DATE OF LOSS : 9/4/2004
: Vero Beach, FL 32960 POLICY NUMBER __ : 09-2510177411
COMPANY __ : Fidelity National Insurance Campany CLAIM NUMBER : FNIC-1-XX-XXXXXXX
: OUR FILE NUMBER: 41213-R1
ADJUSTER NAME — : Josh Bodden

ESTIMATE TOTALS

LESTIMATE TOTAL PAGE ITEMS: 2, ROW DIRE en SAC]
Repair Item Totals $64,865.04 $0.00 $64,865.04
Estimate Grand Totals $64,865.04 $0.00 $64,865.04
Less Deductible ($500.00) ($500.00)

PBUILDING'FINAL TOTALS 22, S64 3050E ROO SOA SOSIOT|

The adjuster has no authority to approve or deny claims. R/R means: Remove and Replace damaged Item. A copy of this Coe locomedt at items
constitute a settiement of this claim, This estimate Is subject to review and approval by your cartier, any additional repair to oF re od chacks

not Included in this estimate Is also subject to the Insurance company’s prior approval. You are required to keep all receipts, The hiring of a ’
Inspection reports, atc. as proof of Tepalr/replacement In the event of any future loss. This is not an authorization for repairs.

contractor Is strictly the decision of the policy holder,

rrier.***
*“This is an estimate of recorded damages and is subject to review and final a roval by the insurance Ce

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Form EST=122.6-SP3 @
